                                                                                    Case 15-31747
                                                                     B6 Summary (Official Form 6 - Summary) (12/14)
                                                                                                                   Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                                      Desc Main
                                                                                                                                   Document     Page 1 of 44
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                       District of Minnesota

                                                                     IN RE:                                                                                                                Case No. 15-31747
                                                                     Petry, Rick L.                                                                                                        Chapter 13
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED             NO. OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                 LIABILITIES                OTHER


                                                                      A - Real Property                                               Yes                          1 $         620,800.00



                                                                      B - Personal Property                                           Yes                          3 $           54,337.00



                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          1                            $       558,729.21


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          2                            $         40,364.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                          6                            $       209,061.87
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          4                                                     $         17,479.00
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          3                                                     $         11,345.00
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      23 $          675,137.00 $             808,155.08
                                                                                  Case 15-31747             Doc 6
                                                                     B 6 Summary (Official Form 6 - Summary) (12/14)
                                                                                                                        Filed 05/22/15 Entered 05/22/15 17:42:14                 Desc Main
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                                                                                                                         United States Bankruptcy Court
                                                                                                                              District of Minnesota

                                                                     IN RE:                                                                                       Case No. 15-31747
                                                                     Petry, Rick L.                                                                               Chapter 13
                                                                                                                  Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                     U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                     any information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                         Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $            0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $       40,364.00
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $            0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $       93,572.60

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $            0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $            0.00

                                                                                                                                                             TOTAL      $      133,936.60


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 12)                                                         $       17,479.00

                                                                      Average Expenses (from Schedule J, Line 22)                                                       $       11,345.00

                                                                      Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1
                                                                      Line 14 )                                                                                         $            0.00


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                          $    72,529.21

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $       40,364.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                            $         0.00

                                                                      4. Total from Schedule F                                                                                              $   209,061.87

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                          $   281,591.08
                                                                                     Case 15-31747
                                                                     B6A (Official Form 6A) (12/07)
                                                                                                                   Doc 6          Filed 05/22/15 Entered 05/22/15 17:42:14                                                         Desc Main
                                                                                                                                    Document     Page 3 of 44
                                                                     IN RE Petry, Rick L.                                                                                                    Case No. 15-31747
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     Homestead located at 5898 Blackberry Bridge Path, Inver Grove                                                              H                            486,200.00               558,729.21
                                                                     Heights, MN 55076
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                                                                     Legally described as Lot 7, Block 3, Foresthaven addition,
                                                                     Dakota County, Minnesota.

                                                                     Equitable interest in homestead pursuant to Last Will and
                                                                     Testiment of Gladys Jean Petry, deceased on February 17, 2015.

                                                                     Value per 2015 Dakota County property tax assessment.
                                                                     Real estate located at 2911 E Longfellow Ave., Spokane, WA                                                                 H                            134,500.00                      0.00
                                                                     99207

                                                                     Legally described as: East 40 feet of Lot 8; All of Lot 9; West 30
                                                                     feet of Lot 10, Block 98, Minnehaha North Addition, Spokane
                                                                     County, Washington.

                                                                     Equitable interest in homestead pursuant to Last Will and
                                                                     Testiment of Gladys Jean Petry, deceased on February 17, 2015.

                                                                     Value per 2015 property tax assessment.
                                                                     Timeshare located at: Phoenix, AZ                                                                                          H                                 100.00                     0.00




                                                                                                                                                                                      TOTAL                                  620,800.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                                    Case 15-31747
                                                                     B6B (Official Form 6B) (12/07)
                                                                                                                      Doc 6       Filed 05/22/15 Entered 05/22/15 17:42:14                                      Desc Main
                                                                                                                                    Document     Page 4 of 44
                                                                     IN RE Petry, Rick L.                                                                                                   Case No. 15-31747
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                                   Cash on hand                                                                                 H                                200.00
                                                                        2. Checking, savings or other financial            Wells Fargo checking account                                                                 H                              4,000.00
                                                                           accounts, certificates of deposit or
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Computers x 2                                                                                H                                250.00
                                                                           include audio, video, and computer              Household goods                                                                              H                              1,500.00
                                                                           equipment.
                                                                                                                           Lawnmower                                                                                    H                                  25.00
                                                                                                                           Snowblower                                                                                   H                                  25.00
                                                                                                                           Tools                                                                                        H                                200.00
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Clothing                                                                                     H                                200.00
                                                                        7. Furs and jewelry.                               Watches                                                                                      H                                100.00
                                                                        8. Firearms and sports, photographic,              Golf clubs                                                                                   H                                125.00
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or               Great West IRA                                                                               H                              3,000.00
                                                                          other pension or profit sharing plans.           Merrill Lynch IRA                                                                            H                                  13.00
                                                                          Give particulars.
                                                                                    Case 15-31747
                                                                     B6B (Official Form 6B) (12/07) - Cont.
                                                                                                                     Doc 6     Filed 05/22/15 Entered 05/22/15 17:42:14                        Desc Main
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                                                                     IN RE Petry, Rick L.                                                                                         Case No. 15-31747
                                                                                                                             Debtor(s)                                                                             (If known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                           CURRENT VALUE OF
                                                                                                                      N                                                                                                   DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                                    PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                                      DEDUCTING ANY
                                                                                                                      E                                                                                                    SECURED CLAIM OR
                                                                                                                                                                                                                               EXEMPTION




                                                                      13. Stock and interests in incorporated             100% interest in 1 Lucky Dog Media, Ltd.                                   H                              7,707.00
                                                                          and unincorporated businesses.                  ASSETS
                                                                          Itemize.                                        1998 Chevy Silverado (205,000 miles) - $1,707
                                                                                                                          Office furniture, Computer equipment - $4,000
                                                                                                                          Heartland Credit Union business savings account - $2,000
                                                                                                                          DEBTS - $0.00
                                                                                                                          100% interest in 21 Century Wealth Creation, LLC                           H                              2,000.00
                                                                                                                          ASSETS
                                                                                                                          Real estate being purchased under contract for deed located at
                                                                                                                          734 First Ave. S., South St. Paul, MN 55075: - $103,800 value per
                                                                                                                          2015 Dakota County property tax assessment. Encumbered by
                                                                                                                          Citi Mortgage mortgage with approx. balance of $100,000.
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                                                                                                                          Heartland Credit Union business savings account - $2,000
                                                                                                                          DEBTS
                                                                                                                          Contract for deed for purchase of 734 First Ave. S., South St.
                                                                                                                          Paul, MN 55075 , dated June 6, 2013 balance - $89686.07
                                                                                                                          100% interest in The Petry Law Firm, Ltd.                                  H                            10,250.00
                                                                                                                          ASSETS
                                                                                                                          Office equipment & furniture - $1,000
                                                                                                                          Contingency retainer - $6,250
                                                                                                                          Wells Fargo business checking account - $1,000
                                                                                                                          Heartland Credit Union business savings account - $2,000
                                                                                                                          DEBTS - $0.00
                                                                      14. Interests in partnerships or joint          X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and          X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                            Judgments x 3                                                              H                            20,000.00
                                                                                                                          (no payments to date)
                                                                      17. Alimony, maintenance, support, and          X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor       X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life          X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent                X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated           X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                                    Case 15-31747
                                                                     B6B (Official Form 6B) (12/07) - Cont.
                                                                                                                     Doc 6    Filed 05/22/15 Entered 05/22/15 17:42:14                           Desc Main
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                                                                     IN RE Petry, Rick L.                                                                                        Case No. 15-31747
                                                                                                                             Debtor(s)                                                                                 (If known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                                      HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                         OR COMMUNITY
                                                                                                                                                                                                                               CURRENT VALUE OF
                                                                                                                      N                                                                                                       DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                                        PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                                          DEDUCTING ANY
                                                                                                                      E                                                                                                        SECURED CLAIM OR
                                                                                                                                                                                                                                   EXEMPTION




                                                                      22. Patents, copyrights, and other              X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other             X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations        X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                                                                          2006 Audi A6 (140,000 miles)                                                   H                              4,742.00
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                                                                      25. Automobiles, trucks, trailers, and
                                                                          other vehicles and accessories.                 value per edmunds
                                                                      26. Boats, motors, and accessories.             X
                                                                      27. Aircraft and accessories.                   X
                                                                      28. Office equipment, furnishings, and          X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and         X
                                                                          supplies used in business.
                                                                      30. Inventory.                                  X
                                                                      31. Animals.                                    X
                                                                      32. Crops - growing or harvested. Give          X
                                                                          particulars.
                                                                      33. Farming equipment and implements.           X
                                                                      34. Farm supplies, chemicals, and feed.         X
                                                                      35. Other personal property of any kind         X
                                                                          not already listed. Itemize.




                                                                                                                                                                                                TOTAL                                 54,337.00
                                                                                                                                                                           (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                          Report total also on Summary of Schedules.)
                                                                                       Case 15-31747
                                                                     B6C (Official Form 6C) (04/13)
                                                                                                                   Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                                Desc Main
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                                                                     IN RE Petry, Rick L.                                                                                             Case No. 15-31747
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                           11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     Homestead located at 5898 Blackberry                         11 USC § 522(d)(1)                                                       1.00            486,200.00
                                                                     Bridge Path, Inver Grove Heights, MN
                                                                     55076

                                                                     Legally described as Lot 7, Block 3,
                                                                     Foresthaven addition, Dakota County,
                                                                     Minnesota.

                                                                     Equitable interest in homestead pursuant
                                                                     to Last Will and Testiment of Gladys Jean
                                                                     Petry, deceased on February 17, 2015.
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                                                                     Value per 2015 Dakota County property tax
                                                                     assessment.
                                                                     Real estate located at 2911 E Longfellow                     11 USC § 522(d)(5)                                                  7,358.00             134,500.00
                                                                     Ave., Spokane, WA 99207

                                                                     Legally described as: East 40 feet of Lot 8;
                                                                     All of Lot 9; West 30 feet of Lot 10, Block
                                                                     98, Minnehaha North Addition, Spokane
                                                                     County, Washington.

                                                                     Equitable interest in homestead pursuant
                                                                     to Last Will and Testiment of Gladys Jean
                                                                     Petry, deceased on February 17, 2015.

                                                                     Value per 2015 property tax assessment.
                                                                     Timeshare located at: Phoenix, AZ                            11 USC § 522(d)(5)                                                    100.00                     100.00
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash on hand                                                 11 USC § 522(d)(5)                                                    200.00                     200.00
                                                                     Wells Fargo checking account                                 11 USC § 522(d)(5)                                                  4,000.00                 4,000.00
                                                                     Computers x 2                                                11 USC § 522(d)(3)                                                    250.00                     250.00
                                                                     Household goods                                              11 USC § 522(d)(3)                                                  1,500.00                 1,500.00
                                                                     Lawnmower                                                    11 USC § 522(d)(3)                                                      25.00                     25.00
                                                                     Snowblower                                                   11 USC § 522(d)(3)                                                      25.00                     25.00
                                                                     Tools                                                        11 USC § 522(d)(3)                                                    200.00                     200.00
                                                                     Clothing                                                     11 USC § 522(d)(3)                                                    200.00                     200.00
                                                                     Watches                                                      11 USC § 522(d)(4)                                                    100.00                     100.00
                                                                     Golf clubs                                                   11 USC § 522(d)(3)                                                    125.00                     125.00
                                                                     Great West IRA                                               11 USC § 522(d)(12)                                                 3,000.00                 3,000.00
                                                                     Merrill Lynch IRA                                            11 USC § 522(d)(12)                                                     13.00                     13.00
                                                                     2006 Audi A6 (140,000 miles)                                 11 USC § 522(d)(2)                                                  3,675.00                 4,742.00
                                                                     value per edmunds                                            11 USC § 522(d)(5)                                                  1,067.00




                                                                     * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                     Case 15-31747
                                                                     B6D (Official Form 6D) (12/07)
                                                                                                                    Doc 6                  Filed 05/22/15 Entered 05/22/15 17:42:14                                                                              Desc Main
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                                                                     IN RE Petry, Rick L.                                                                                                                       Case No. 15-31747
                                                                                                                                 Debtor(s)                                                                                                                                     (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                   UNLIQUIDATED
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                                                                                                                                                                                                                      CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                AMOUNT OF




                                                                                                                                                                                                                                                  DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                       CLAIM WITHOUT
                                                                                                                                                                                                                                                                                        UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                              DEDUCTING
                                                                                                                                                                                                                                                                                      PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                         VALUE OF
                                                                                                                                                                                                                                                               COLLATERAL




                                                                     ACCOUNT NO. 8268                                                                              Secured claim agsinst debtor's                                                                558,729.21                 72,529.21
                                                                     Nationstar Mortgage                                                                           homestead.
                                                                     ATTN: BANKRUPTCY
                                                                     350 Highland Dr
                                                                     Lewisville, TX 75067
                                                                                                                                                                   VALUE $ 486,200.00

                                                                     ACCOUNT NO.                                                                                   Assignee or other notification for:
                                                                     Shapiro & Zielke, LLP                                                                         Nationstar Mortgage
                                                                     12550 W. Frontage Road, Ste 200
                                                                     Burnsville, MN 55337

                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                   VALUE $
                                                                                                                                                                                                                        Subtotal
                                                                            0 continuation sheets attached                                                                                                  (Total of this page) $ 558,729.21 $                                             72,529.21
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $ 558,729.21 $                                              72,529.21
                                                                                                                                                                                                                                                             (Report also on         (If applicable, report
                                                                                                                                                                                                                                                             Summary of              also on Statistical
                                                                                                                                                                                                                                                             Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                     Liabilities and Related
                                                                                                                                                                                                                                                                                     Data.)
                                                                                     Case 15-31747
                                                                     B6E (Official Form 6E) (04/13)
                                                                                                                     Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                                         Desc Main
                                                                                                                                     Document     Page 9 of 44
                                                                     IN RE Petry, Rick L.                                                                                                      Case No. 15-31747
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            1 continuation sheets attached
                                                                                    Case 15-31747
                                                                     B6E (Official Form 6E) (04/13) - Cont.
                                                                                                                  Doc 6                                    Filed 05/22/15 Entered 05/22/15 17:42:14                                                                            Desc Main
                                                                                                                                                            Document     Page 10 of 44
                                                                     IN RE Petry, Rick L.                                                                                                                                                                     Case No. 15-31747
                                                                                                                                                    Debtor(s)                                                                                                                        (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                            Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                              (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                                                                                  AMOUNT




                                                                                                                                                                                                                   CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                               DISPUTED
                                                                                                                                                                                                                                                                               AMOUNT                NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                    AMOUNT
                                                                                                                                                                DATE CLAIM WAS INCURRED                                                                                        ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                    OF
                                                                                                                                                              AND CONSIDERATION FOR CLAIM                                                                                         TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                    CLAIM
                                                                                                                                                                                                                                                                               PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                                   IF ANY




                                                                     ACCOUNT NO.                                                                           TAX LIEN FEDERAL ACCOUNT
                                                                     Internal Revenue Service
                                                                     PO Box 7346
                                                                     Philadelphia, PA 19101-7346

                                                                                                                                                                                                                                                               16,118.00       16,118.00
                                                                                                                                                           TAX LIEN FEDERAL ACCOUNT
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                                                                     ACCOUNT NO.
                                                                     Internal Revenue Service
                                                                     PO Box 7346
                                                                     Philadelphia, PA 19101-7346

                                                                                                                                                                                                                                                               24,246.00       24,246.00
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                          Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                   (Totals of this page)                                      $    40,364.00 $     40,364.00 $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $                                                                            40,364.00
                                                                                                                                                                                 Total
                                                                                                                   (Use only on last page of the completed Schedule E. If applicable,
                                                                                                      report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                     $   40,364.00 $
                                                                                     Case 15-31747
                                                                     B6F (Official Form 6F) (12/07)
                                                                                                                    Doc 6          Filed 05/22/15 Entered 05/22/15 17:42:14                                                          Desc Main
                                                                                                                                    Document     Page 11 of 44
                                                                     IN RE Petry, Rick L.                                                                                                                         Case No. 15-31747
                                                                                                                                 Debtor(s)                                                                                                              (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                       DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                          (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO.                                                                                          HENNEPIN COUNTY DIST. COURT JUDGMENT 27
                                                                      PREMIER INVESTIGATIONS, INC.                                                                        -CV-1015590




                                                                                                                                                                                                                                                                                   3,780.00
                                                                     ACCOUNT NO.                                                                                          HENNEPIN COUNTY CONCILIATION JUDGMENT
                                                                     AAA REPORTING                                                                                        27-CO-094914




                                                                                                                                                                                                                                                                                   2,287.00
                                                                     ACCOUNT NO.                                                                                          medical
                                                                     Allina Hospitals & Clinics
                                                                     2925 Chicago Ave
                                                                     Minneapolis, MN 55407

                                                                                                                                                                                                                                                                                     135.00
                                                                     ACCOUNT NO.                                                                                          Assignee or other notification for:
                                                                     Reliance Recoveries                                                                                  Allina Hospitals & Clinics
                                                                     PO Box 29227
                                                                     Minneapolis, MN 55429


                                                                                                                                                                                                                                           Subtotal
                                                                            5 continuation sheets attached                                                                                                                     (Total of this page) $                              6,202.00
                                                                                                                                                                                                                                              Total
                                                                                                                                                                                 (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                     the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                  Summary of Certain Liabilities and Related Data.) $
                                                                                    Case 15-31747
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                  Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                                                             Desc Main
                                                                                                                                 Document     Page 12 of 44
                                                                     IN RE Petry, Rick L.                                                                                                                         Case No. 15-31747
                                                                                                                              Debtor(s)                                                                                                                 (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                       DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                      DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                 CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                        SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        JUDGMENT HENNEPIN COUNTY DIST COURT 27
                                                                     Alvin J. & Joanne L. Hall                                                                          -CV-10-23856
                                                                     C/O JAMES A REICHERT, ESQ.
                                                                     301 Fourth Avenue South, Ste 405
                                                                     Minneapolis, MN 55415
                                                                                                                                                                                                                                                                                  57,583.00
                                                                     ACCOUNT NO.                                                                                        HENNEPIN COUNTY DIST. COURT JUDGMENT 27
                                                                     BEITO & LENGILING, PLC                                                                             -CV-099741
                                                                     310 4th Avenue South Suite 1050
                                                                     Minneapolis, MN 55415
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                                                                                                                                                                                                                                                                                   1,474.00
                                                                     ACCOUNT NO.                                                                                        dental
                                                                     Benke Dental
                                                                     5972 Cahill Avenue #109
                                                                     Inver Grove Heights, MN 55076

                                                                                                                                                                                                                                                                                   1,000.00
                                                                     ACCOUNT NO. 8438                                                                                   REVOLVING ACCOUNT OPENED 10/2004
                                                                     Capital One
                                                                     Attn: Bankruptcy
                                                                     Po Box 30285
                                                                     Salt Lake City, UT 84130
                                                                                                                                                                                                                                                                                   7,852.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Messerli & Kramer                                                                                  Capital One
                                                                     3033 Campus Drive
                                                                     Plymouth, MN 55441



                                                                     ACCOUNT NO.                                                                                        JUDGMENT DAKOTA COUNTY DIST COURT
                                                                     CAPITAL ONE BANK (USA) N.A.                                                                        19HA-CV-11-4020
                                                                     ATTN: BANKRUPTCY DEPT.
                                                                     PO Box 30285
                                                                     Salt Lake City, UT 84130
                                                                                                                                                                                                                                                                                   6,854.00
                                                                     ACCOUNT NO. 5852                                                                                   OPEN ACCOUNT OPENED 7/2011
                                                                     Cavalry Portfolio Serv
                                                                     Po Box 27288
                                                                     Tempe, AZ 85285

                                                                                                                                                                                                                                                                                     525.00
                                                                     Sheet no.       1 of        5 continuation sheets attached to                                                                                                         Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                (Total of this page) $                             75,288.00
                                                                                                                                                                                                                                              Total
                                                                                                                                                                                 (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                     the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                  Summary of Certain Liabilities and Related Data.) $
                                                                                    Case 15-31747
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                  Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                                                            Desc Main
                                                                                                                                 Document     Page 13 of 44
                                                                     IN RE Petry, Rick L.                                                                                                                        Case No. 15-31747
                                                                                                                              Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Hsbc Bank Nevada                                                                                   Cavalry Portfolio Serv




                                                                     ACCOUNT NO.                                                                                        HENNEPIN COUNTY CONCILIATION COURT
                                                                     CHASER COURT REPORTING                                                                             JUDGMENT 27-CO-094838
                                                                     5841 190th Street East
                                                                     Minneapolis, MN 55372
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                                                                                                                                                                                                                                                                                  1,842.00
                                                                     ACCOUNT NO. 9814                                                                                   traffic violation fine
                                                                     City Of Spokane Photo Enforcement
                                                                     PO Box 742503
                                                                     Cincinnati, OH 45274

                                                                                                                                                                                                                                                                                    198.62
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Linebarger, Goggen, Blair & Sampson                                                                City Of Spokane Photo Enforcement
                                                                     900 Arion Pkwy, Ste 104
                                                                     San Antonio, TX 78216



                                                                     ACCOUNT NO.                                                                                        HENNEPIN COUNTY DIST. COURT JUDGMENT 27
                                                                     CLX SYSTEMS INC                                                                                    -CV-03-014309
                                                                     95 Hamel Road
                                                                     Medina, MN 55340

                                                                                                                                                                                                                                                                                    545.80
                                                                     ACCOUNT NO.                                                                                        HENNEPIN COUNTY CONCILIATION JUDGMENT
                                                                     CM Information Specialists Inc                                                                     27-CO-10-9572
                                                                     6875 Highway 65 Northeast
                                                                     Fridley, MN 55432

                                                                                                                                                                                                                                                                                    824.54
                                                                     ACCOUNT NO. 5001                                                                                   OPEN ACCOUNT OPENED 0/
                                                                     Credit Coll
                                                                     Po Box 9134
                                                                     Needham, MA 02494

                                                                                                                                                                                                                                                                                    434.00
                                                                     Sheet no.       2 of        5 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $                              3,844.96
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                                    Case 15-31747
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                  Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                                                           Desc Main
                                                                                                                                 Document     Page 14 of 44
                                                                     IN RE Petry, Rick L.                                                                                                                       Case No. 15-31747
                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     06 Progressive Insurance Company                                                                   Credit Coll




                                                                     ACCOUNT NO.                                                                                        guarantied medical
                                                                     Eisenhower Medical Center
                                                                     39000 Bob Hope Drive
                                                                     Rancho Mirage, CA 92270
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                                                                                                                                                                                                                                                                                   400.00
                                                                     ACCOUNT NO. 3265                                                                                   REVOLVING ACCOUNT OPENED 1/2010
                                                                     First Premier Bank
                                                                     601 S Minnesota Ave
                                                                     Sioux Falls, SD 57104

                                                                                                                                                                                                                                                                                   409.00
                                                                     ACCOUNT NO. 6238                                                                                   medical
                                                                     Health Partners
                                                                     PO Box 2270
                                                                     St. Cloud, MN 56302

                                                                                                                                                                                                                                                                                    41.20
                                                                     ACCOUNT NO. 6415                                                                                   medical
                                                                     In Home Lab Connection
                                                                     2626 E. 82nd St., Ste 101
                                                                     Bloomington, MN 55425

                                                                                                                                                                                                                                                                                   175.00
                                                                     ACCOUNT NO.                                                                                        misc
                                                                     Jefferson Capital Systems
                                                                     16 McLeland Rd
                                                                     St. Cloud, MN 56303

                                                                                                                                                                                                                                                                                   408.93
                                                                     ACCOUNT NO. 9160                                                                                   OPEN ACCOUNT OPENED 12/2011
                                                                     Nweducation
                                                                     Po Box 4100
                                                                     Wilkes-barre, PA 18773

                                                                                                                                                                                                                                                                                 3,788.00
                                                                     Sheet no.       3 of        5 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              5,222.13
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                                    Case 15-31747
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                  Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                                                           Desc Main
                                                                                                                                 Document     Page 15 of 44
                                                                     IN RE Petry, Rick L.                                                                                                                       Case No. 15-31747
                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 9160                                                                                   OPEN ACCOUNT OPENED 12/2011
                                                                     Nweducation
                                                                     Po Box 4100
                                                                     Wilkes-barre, PA 18773

                                                                                                                                                                                                                                                                                   370.00
                                                                     ACCOUNT NO. 9160                                                                                   OPEN ACCOUNT OPENED 12/2011
                                                                     Nweducation
                                                                     Po Box 4100
                                                                     Wilkes-barre, PA 18773
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                                                                                                                                                                                                                                                                                10,726.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Pioneer Credit Recovery                                                                            Nweducation
                                                                     28 Edward ST.
                                                                     Arcade, NY 14009



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Delta Management Assoc., Inc.                                                                      Nweducation
                                                                     PO Box 9242
                                                                     Chelsea, MA 02150



                                                                     ACCOUNT NO. 9160                                                                                   OPEN ACCOUNT OPENED 12/2011
                                                                     Nweducation
                                                                     Po Box 4100
                                                                     Wilkes-barre, PA 18773

                                                                                                                                                                                                                                                                                 9,380.00
                                                                     ACCOUNT NO. 9160                                                                                   OPEN ACCOUNT OPENED 12/2011
                                                                     Nweducation
                                                                     Po Box 4100
                                                                     Wilkes-barre, PA 18773

                                                                                                                                                                                                                                                                                 4,592.00
                                                                     ACCOUNT NO.                                                                                        HENNEPIN COUNTY CONCILIATION JUDGMENT
                                                                     ORR AUTOSPORT, LLC                                                                                 27-C0-090522005
                                                                     15180 Martin Drive
                                                                     Eden Prairie, MN 55344

                                                                                                                                                                                                                                                                                   639.00
                                                                     Sheet no.       4 of        5 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             25,707.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                                    Case 15-31747
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                  Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                                                         Desc Main
                                                                                                                                 Document     Page 16 of 44
                                                                     IN RE Petry, Rick L.                                                                                                                      Case No. 15-31747
                                                                                                                              Debtor(s)                                                                                                             (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                   DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                             AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                        OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                            CLAIM




                                                                     ACCOUNT NO.                                                                                        guarantied medical services
                                                                     Presbyterian Homes & Services
                                                                     5401 69th Ave N
                                                                     Minneapolis, MN 55429

                                                                                                                                                                                                                                                                              21,486.18
                                                                     ACCOUNT NO.                                                                                        DAKOTA COUNTY DIST. COURT JUDGMENT 19-
                                                                     STANISLAUS HEMERSKI                                                                                AVCV-121432
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                                                                                                                                                                                                                                                                               4,500.00
                                                                     ACCOUNT NO. 7103                                                                                   student loan
                                                                     Student Loan Finance Corp.
                                                                     124 S. First St.
                                                                     Aberdeen, SD 57401

                                                                                                                                                                                                                                                                              17,189.60
                                                                     ACCOUNT NO.                                                                                        tax services
                                                                     Tax Resolution Center MN
                                                                     8400 Normandale Blvd, Ste 920
                                                                     Bloomington, MN 55437

                                                                                                                                                                                                                                                                               1,650.00
                                                                     ACCOUNT NO. 8020                                                                                   INSTALLMENT ACCOUNT OPENED 9/2002
                                                                     Us Dept Ed
                                                                     Po Box 4222
                                                                     Iowa City, IA 52244

                                                                                                                                                                                                                                                                              47,527.00
                                                                     ACCOUNT NO.                                                                                        HENNEPIN COUNTY CONCILIATION JUDGMENT
                                                                     WENDY S. FOLEY                                                                                     081009044




                                                                                                                                                                                                                                                                                 445.00
                                                                     ACCOUNT NO.




                                                                     Sheet no.       5 of        5 continuation sheets attached to                                                                                                     Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                            (Total of this page) $                             92,797.78
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $ 209,061.87
                                                                                     Case 15-31747
                                                                     B6G (Official Form 6G) (12/07)
                                                                                                                    Doc 6          Filed 05/22/15 Entered 05/22/15 17:42:14                                         Desc Main
                                                                                                                                    Document     Page 17 of 44
                                                                     IN RE Petry, Rick L.                                                                                                      Case No. 15-31747
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                     Case 15-31747
                                                                     B6H (Official Form 6H) (12/07)
                                                                                                                     Doc 6          Filed 05/22/15 Entered 05/22/15 17:42:14                                         Desc Main
                                                                                                                                     Document     Page 18 of 44
                                                                     IN RE Petry, Rick L.                                                                                                       Case No. 15-31747
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                                                                        Case 15-31747                Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                                    Desc Main
                                                                                                                                    Document     Page 19 of 44
                                                                                   Petry, Rick L.                                                                                                       15-31747
                                                                      Fill in this information to identify your case:


                                                                      Debtor 1          Rick
                                                                                        ___    L._____
                                                                                            ____  Petry_______ ____ _____ ______ ____ _____ _______ ____ ______ ____ ____
                                                                                          F irst Name                Middle Name                Last Name

                                                                      Debtor 2            ___ ____ _____ _______ ____ _____ ______ _________ _______ ____ _____ _____ __
                                                                      (Spouse, if filing) F irst Name                Middle Name                Last Name


                                                                      United States Bankruptcy Court for the: District of Minnesota

                                                                      Case num ber        15-31747
                                                                                          ___ ____ _____ ______ _____ _____ ______ ____ _____                                      Check if this is:
                                                                          (If known)
                                                                                                                                                                                       An amended filing
                                                                                                                                                                                       A supplement showing post-petition
                                                                                                                                                                                       chapter 13 income as of the following date:
                                                                                                                                                                                       ________________
                                                                     Official Form 6I                                                                                                  MM / DD / YYYY


                                                                     Schedule I: Your Income                                                                                                                                           12/13
                                                                     Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                     supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                     If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                     separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                      Part 1:           Describe Employment
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                                                                     1.    Fill in your employment
                                                                           information.                                                               Debtor 1                                       Debtor 2 or non-filing spouse

                                                                            If you have more than one job,
                                                                            attach a separate page with
                                                                            information about additional          Employment status                    Employed                                           Employed
                                                                            employers.                                                                 Not employed                                       Not employed
                                                                            Include part-time, seasonal, or
                                                                            self-employed work.
                                                                                                                  Occupation                     Lawyer
                                                                                                                                                 __________________________________                __________________________________
                                                                            Occupation may Include student
                                                                            or homemaker, if it applies.
                                                                                                                  Employer’s name                Petry Law Firm
                                                                                                                                                 __________________________________                __________________________________


                                                                                                                  Employer’s address            __ ____ _______ _____ ____ _____ ______ ____ __   ___ _______ ____ _____ ____ ______ _____ ______
                                                                                                                                                  Number Street                                     Number     Street

                                                                                                                                                __ ____ _____ ___________ _____ ______ ____ __    ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                                ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____


                                                                                                                                                __ ____ _____ ___________ _____ ______ ____ __    _____ _____ ______ _____ ____ _____ ______ ____
                                                                                                                                                  Cit y             State   ZIP Code                City                    State ZIP Code

                                                                                                                  How long employed there?            2_______
                                                                                                                                                        years and 6 months                          _______

                                                                      Part 2:           Give Details About Monthly Income

                                                                            Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                            spouse unless you are separated.
                                                                            If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                            below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                              For Debtor 1          For Debtor 2 or
                                                                                                                                                                                                    non-filing spouse
                                                                      2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                             deductions). If not paid monthly, calculate what the monthly wage would be.             2.
                                                                                                                                                                                1,000.00
                                                                                                                                                                             $___________              $____________

                                                                      3.     Estimate and list monthly overtime pay.                                                 3.     + $___________
                                                                                                                                                                                   0.00            + $____________

                                                                      4.     Calculate gross income. Add line 2 + line 3.                                            4.         1,000.00
                                                                                                                                                                             $__________               $____________



                                                                     Official Form 6I                                                       Schedule I: Your Income                                                                page 1
                                                                                         Case 15-31747                         Doc 6             Filed 05/22/15 Entered 05/22/15 17:42:14                                          Desc Main
                                                                                                                                                  Document     Page 20 of 44
                                                                     Debtor 1             Rick
                                                                                         ___    L. Petry
                                                                                             _______ ____ _____ ______ _____ ____ _______ ____ _____ _____                                                                15-31747
                                                                                                                                                                                                  Case numb er (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                         First Name          Middle Name                Last Name



                                                                                                                                                                                                 For Debtor 1           For Debtor 2 or
                                                                                                                                                                                                                        non-filing spouse

                                                                           Copy line 4 here ............................................................................................   4.        1,000.00
                                                                                                                                                                                                 $___________              $_____________

                                                                     5. List all payroll deductions:

                                                                            5a. Tax, Medicare, and Social Security deductions                                                              5a.         203.00
                                                                                                                                                                                                 $____________             $_____________
                                                                            5b. Mandatory contributions for retirement plans                                                               5b.           0.00
                                                                                                                                                                                                 $____________             $_____________
                                                                            5c. Voluntary contributions for retirement plans                                                               5c.           0.00
                                                                                                                                                                                                 $____________             $_____________
                                                                            5d. Required repayments of retirement fund loans                                                               5d.           0.00
                                                                                                                                                                                                 $____________             $_____________
                                                                            5e. Insurance                                                                                                  5e.           0.00
                                                                                                                                                                                                 $____________             $_____________
                                                                            5f. Domestic support obligations                                                                               5f.           0.00
                                                                                                                                                                                                 $____________             $_____________

                                                                            5g. Union dues                                                                                                 5g.           0.00
                                                                                                                                                                                                 $____________             $_____________

                                                                            5h. Other deductions. Specify: __________________________________                                              5h. + $____________
                                                                                                                                                                                                         0.00          + $_____________
                                                                      6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.           203.00
                                                                                                                                                                                                 $____________             $_____________

                                                                      7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.          797.00
                                                                                                                                                                                                 $____________             $_____________
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                                                                      8. List all other income regularly received:

                                                                            8a. Net income from rental property and from operating a business,
                                                                                profession, or farm
                                                                                Attach a statement for each property and business showing gross
                                                                                receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                      13,040.00
                                                                                                                                                                                                 $____________             $_____________
                                                                                monthly net income.                                                                                        8a.
                                                                             8b. Interest and dividends                                                                                    8b.           0.00
                                                                                                                                                                                                 $____________             $_____________
                                                                            8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                                regularly receive
                                                                                Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                         0.00
                                                                                                                                                                                                 $____________             $_____________
                                                                                settlement, and property settlement.                                  8c.
                                                                            8d. Unemployment compensation                                                                                  8d.          0.00
                                                                                                                                                                                                 $____________             $_____________
                                                                            8e. Social Security                                                                                            8e.           0.00
                                                                                                                                                                                                 $____________             $_____________
                                                                             8f. Other government assistance that you regularly receive
                                                                                 Include cash assistance and the value (if known) of any non-cash assistance
                                                                                 that you receive, such as food stamps (benefits under the Supplemental                                                  0.00
                                                                                                                                                                                                 $____________             $_____________
                                                                                 Nutrition Assistance Program) or housing subsidies.
                                                                                 Specify: ___________________________________________________ 8f.

                                                                             8g. Pension or retirement income                                                                              8g.           0.00
                                                                                                                                                                                                 $____________             $_____________

                                                                             8h. Other monthly income. Specify: Law
                                                                                                                _______________________________
                                                                                                                    Practice Income                                                        8h. + $____________
                                                                                                                                                                                                      3,642.00           + $_____________
                                                                      9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.        16,682.00
                                                                                                                                                                                                 $____________             $_____________

                                                                     10. Calculate monthly income. Add line 7 + line 9.
                                                                           Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                                                                                    17,479.00 +
                                                                                                                                                                                                 $___________              $_____________ = $_____________
                                                                                                                                                                                                                                                17,479.00

                                                                     11. State all other regular contributions to the expenses that you list in Schedule J.
                                                                           Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
                                                                           other friends or relatives.
                                                                           Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                           Specify: _______________________________________________________________________________                                                                          11. + $_____________
                                                                                                                                                                                                                                                           0.00
                                                                     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                           Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                      12.      17,479.00
                                                                                                                                                                                                                                                    $_____________
                                                                                                                                                                                                                                                    Combined
                                                                                                                                                                                                                                                    monthly income
                                                                      13. Do you expect an increase or decrease within the year after you file this form?
                                                                                  No.
                                                                                  Yes. Explain:         See Continuation Sheet


                                                                       Official Form 6I                                                                      Schedule I: Your Income                                                                    page 2
                                                                                    Case 15-31747                 Doc 6        Filed 05/22/15 Entered 05/22/15 17:42:14                                   Desc Main
                                                                                                                                Document     Page 21 of 44
                                                                     IN RE Petry, Rick L.                                                                                               Case No. 15-31747
                                                                                                                              Debtor(s)

                                                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                                                   Continuation Sheet - Page 1 of 2
                                                                     Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     Debtor recently began using a payroll service to pay payroll taxes and receives $1,000.00 /mo. of his law practice income via
                                                                     paycheck. The remaining law practice income is taken as a distribution. The distribution is listed under law practice income
                                                                     above.
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                                                                                           Case 15-31747                Doc 6          Filed 05/22/15 Entered 05/22/15 17:42:14                                Desc Main
                                                                                                                                        Document     Page 22 of 44
                                                                                     Petry, Rick L.                                                                                                       15-31747
                                                                          Fill in this information to identify your case:

                                                                          Debtor 1           Rick
                                                                                            ___     L. Petry
                                                                                                _______ ____ _____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                                                                                             First Name                  Middle Name               Last Name                        Check if this is:
                                                                          Debtor 2           ___ ____ _____ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                          (Spouse, if filing) First Name                 Middle Name               Last Name
                                                                                                                                                                                        An amended filing
                                                                                                                                                                                        A supplement showing post-petition chapter 13
                                                                          United Sta tes Bankruptcy Court for th e: District of Minnesota                                               expenses as of the following date:
                                                                                                                                                                                        ________________
                                                                          Case num ber        15-31747
                                                                                             ___ ____ _____ ______ _____ _____ ______ _______ __                                        MM / DD / YYYY
                                                                           (If known)
                                                                                                                                                                                        A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                        maintains a separate household
                                                                     Official Form 6J
                                                                     Schedule J: Your Expenses                                                                                                                                      12/13

                                                                     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                     information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                     (if known). Answer every question.

                                                                      Part 1:               Describe Your Household

                                                                     1.    Is this a joint case?

                                                                                No. Go to line 2.
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                                                                                Yes. Does Debtor 2 live in a separate household?

                                                                                             No
                                                                                             Yes. Debtor 2 must file a separate Schedule J.

                                                                     2.    Do you have dependents?                         No                                   Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                           Do not list Debtor 1 and                        Yes. Fill out this information for Debtor 1 or Debtor 2                        age            with you?
                                                                           Debtor 2.                                       each dependent..........................
                                                                                                                                                                                                                             No
                                                                           Do not state the dependents’                                                         _________________________                 ________
                                                                           names.                                                                                                                                            Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                     3.    Do your expenses include
                                                                                                                           No
                                                                           expenses of people other than
                                                                           yourself and your dependents?                   Yes

                                                                     Part 2:            Estimate Your Ongoing Monthly Expenses

                                                                     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                     applicable date.
                                                                     Include expenses paid for with non-cash government assistance if you know the value of
                                                                     such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                     Your expenses

                                                                      4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                             any rent for the ground or lot.                                                                                        4.
                                                                                                                                                                                                                  4,250.00
                                                                                                                                                                                                            $_____________________

                                                                             If not included in line 4:
                                                                             4a.    Real estate taxes                                                                                               4a.             0.00
                                                                                                                                                                                                            $_____________________
                                                                             4b.    Property, homeowner’s, or renter’s insurance                                                                    4b.             0.00
                                                                                                                                                                                                            $_____________________
                                                                             4c.    Home maintenance, repair, and upkeep expenses                                                                   4c.            150.00
                                                                                                                                                                                                            $_____________________

                                                                             4d.    Homeowner’s association or condominium dues                                                                     4d.             0.00
                                                                                                                                                                                                            $_____________________

                                                                          Official Form 6J                                                  Schedule J: Your Expenses                                                           page 1
                                                                                          Case 15-31747                Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                         Desc Main
                                                                                                                                      Document     Page 23 of 44
                                                                      Debtor 1            Rick
                                                                                          ___    L. Petry
                                                                                              _______ ____ _____ ______ _____ ____ _______ ____ _____ _____                                  15-31747
                                                                                                                                                                     Case numb er (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                          First Name     Middle Name         Last Name




                                                                                                                                                                                                    Your expenses

                                                                                                                                                                                                   $_____________________
                                                                                                                                                                                                           0.00
                                                                      5.    Additional mortgage payments for your residence, such as home equity loans                                     5.


                                                                      6.    Utilities:
                                                                             6a.     Electricity, heat, natural gas                                                                        6a.            225.00
                                                                                                                                                                                                   $_____________________
                                                                             6b.     Water, sewer, garbage collection                                                                      6b.            35.00
                                                                                                                                                                                                   $_____________________
                                                                             6c.     Telephone, cell phone, Internet, satellite, and cable services                                        6c.             0.00
                                                                                                                                                                                                   $_____________________

                                                                             6d.                     Garbage
                                                                                     Other. Specify: _______________________________________________                                       6d.            19.00
                                                                                                                                                                                                   $_____________________

                                                                      7.    Food and housekeeping supplies                                                                                 7.             500.00
                                                                                                                                                                                                   $_____________________

                                                                      8.    Childcare and children’s education costs                                                                       8.              0.00
                                                                                                                                                                                                   $_____________________
                                                                      9.    Clothing, laundry, and dry cleaning                                                                            9.             175.00
                                                                                                                                                                                                   $_____________________
                                                                     10.    Personal care products and services                                                                            10.            85.00
                                                                                                                                                                                                   $_____________________
                                                                     11.    Medical and dental expenses                                                                                    11.            50.00
                                                                                                                                                                                                   $_____________________

                                                                     12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                          200.00
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                                                                                                                                                                                                   $_____________________
                                                                            Do not include car payments.                                                                                   12.

                                                                     13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.            200.00
                                                                                                                                                                                                   $_____________________
                                                                     14.     Charitable contributions and religious donations                                                              14.             0.00
                                                                                                                                                                                                   $_____________________

                                                                     15.     Insurance.
                                                                             Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                             15a . Life insurance                                                                                          15a .           0.00
                                                                                                                                                                                                   $_____________________
                                                                             15b . Health insurance                                                                                        15b .           0.00
                                                                                                                                                                                                   $_____________________
                                                                             15c.    Vehicle insurance                                                                                     15c.           75.00
                                                                                                                                                                                                   $_____________________
                                                                             15d . Other insurance. Specify:_______________________________________                                        15d .           0.00
                                                                                                                                                                                                   $_____________________

                                                                     16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                         5,356.00
                                                                                                                                                                                                   $_____________________
                                                                                       Prorated Quarterly Est. Taxes
                                                                             Specify: ______________________________________
                                                                                                                           __________________                                              16.


                                                                     17.    Installment or lease payments:

                                                                             17a . Car payments for Vehicle 1                                                                              17a.            0.00
                                                                                                                                                                                                   $_____________________

                                                                             17b . Car payments for Vehicle 2                                                                              17b .           0.00
                                                                                                                                                                                                   $_____________________

                                                                             17 c.   Other. Specify:_________________________________
                                                                                                                                    ______________                                         17c.            0.00
                                                                                                                                                                                                   $_____________________

                                                                             17 d. Other. Specify:_________________________________
                                                                                                                                  ______________                                           17d .           0.00
                                                                                                                                                                                                   $_____________________

                                                                     18.    Your payments of alimony, maintenance, and support that you did not report as deducted from                                    0.00
                                                                                                                                                                                                   $_____________________
                                                                            your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                 18.


                                                                     19.    Other payments you make to support others who do not live with you.                                                            0.00
                                                                                                                                                                                                   $_____________________
                                                                            Specify:_______________________________________________________                                                 19.

                                                                     20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                             20a . Mortgages on other property                                                                            20 a.            0.00
                                                                                                                                                                                                   $_____________________

                                                                             20b . Real estate taxes                                                                                      20b .            0.00
                                                                                                                                                                                                   $_____________________

                                                                             20c.    Property, homeowner’s, or renter’s insurance                                                         20c.             0.00
                                                                                                                                                                                                   $_____________________

                                                                             20d . Maintenance, repair, and upkeep expenses                                                               20d .            0.00
                                                                                                                                                                                                   $_____________________

                                                                             20e . Homeowner’s association or condominium dues                                                            20e .            0.00
                                                                                                                                                                                                   $_____________________



                                                                           Official Form 6J                                              Schedule J: Your Expenses                                                         page 2
                         3,800.00
                                                                                       Case 15-31747                Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                           Desc Main
                                                                                                                                   Document     Page 24 of 44
                                                                      Debtor 1          Rick
                                                                                       ___    L. Petry
                                                                                           _______ ____ _____ ______ _____ ____ _______ ____ _____ _____                                    15-31747
                                                                                                                                                                    Case numb er (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                       First Name     Middle Name         Last Name




                                                                     21.     Other. Specify: ________________________________
                                                                                             Pet Food                        _________________                                           21 .           25.00
                                                                                                                                                                                                +$_____________________

                                                                     22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                       11,345.00
                                                                                                                                                                                                  $_____________________
                                                                            The result is your monthly expenses.                                                                         22 .




                                                                     23. Calculate your monthly net income.
                                                                                                                                                                                                        17,479.00
                                                                                                                                                                                                   $_____________________
                                                                           23a.   Copy line 12 (your combined monthly income) from Schedule I.                                          23a.

                                                                           23b.   Copy your monthly expenses from line 22 above.                                                        23b .   – $_____________________
                                                                                                                                                                                                       11,345.00

                                                                           23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                        6,134.00
                                                                                                                                                                                                   $_____________________
                                                                                  The result is your monthly net income.                                                                23c.




                                                                     24. Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                            For example, do you expect to finish paying for your car loan within the year or do you expect your
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                                                                            mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                               No.
                                                                               Yes.    None




                                                                           Official Form 6J                                           Schedule J: Your Expenses                                                           page 3
                                                                                      Case 15-31747                Doc 6
                                                                     B6 Declaration (Official Form 6 - Declaration) (12/07)
                                                                                                                                 Filed 05/22/15 Entered 05/22/15 17:42:14                                        Desc Main
                                                                                                                                  Document     Page 25 of 44
                                                                     IN RE Petry, Rick L.                                                                                                Case No. 15-31747
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      25 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.


                                                                     Date: May 22, 2015                                   Signature: /s/ Rick L. Petry
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       Rick L. Petry

                                                                     Date:                                                Signature:
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                    Case 15-31747
                                                                     B7 (Official Form 7) (04/13)
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                                                                                                                              United States Bankruptcy Court
                                                                                                                                   District of Minnesota

                                                                     IN RE:                                                                                                       Case No. 15-31747
                                                                     Petry, Rick L.                                                                                               Chapter 13
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                     affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 29,500.00 2013 Gross employment income
                                                                                -12,247.00 2013 Business loss
                                                                                 16,188.00 2014 Gross employment income
                                                                                -33,757.00 2014 Business loss

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                    0.00 2014 retirement cashout
                                                                                    Case 15-31747               Doc 6        Filed 05/22/15 Entered 05/22/15 17:42:14                               Desc Main
                                                                                                                              Document     Page 27 of 44
                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                             debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                             preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                             who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
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                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                             the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                             gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                    Case 15-31747               Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                                Desc Main
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                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Debtorcc.Org                                                      5/8/15                                                                  10.95
                                                                     Atlas Law Firm                                                    5/8/15                                                                                310.00

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                             absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                             device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                             transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
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                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                             case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.


                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                             that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                             Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                             potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.
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                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                             the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                             is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                          If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                          of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                          preceding the commencement of this case.
                                                                                                                 LAST FOUR DIGITS
                                                                                                                 OF SOCIAL-
                                                                                                                 SECURITY OR OTHER
                                                                                                                 INDIVIDUAL
                                                                                                                 TAXPAYER-I.D. NO.                                                   NATURE OF            BEGINNING AND
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                                                                     NAME                                        (ITIN)/COMPLETE EIN ADDRESS                                         BUSINESS             ENDING DATES
                                                                     Rick L. Petry & Assoc., PA                                                                                      Law Practice         Aug. 2002 - June
                                                                                                                                                                                                          2014
                                                                     1 Lucky Dog Media Ltd.                                                                                             Training &            June 2014 -
                                                                                                                                                                                        Speaking              present
                                                                     21 Century Wealth Creation, LLC                                                                                    Real Estate           June 2013 -
                                                                                                                                                                                        Investment            present
                                                                     The Petry Law Firm                                                                                                 Law Practice          Sept. 2012 -
                                                                                                                                                                                                              present
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.


                                                                     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
                                                                     six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more than
                                                                     5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed
                                                                     in a trade, profession, or other activity, either full- or part-time.

                                                                     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
                                                                     years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
                                                                     signature page.)

                                                                     19. Books, records and financial statements
                                                                      None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
                                                                             keeping of books of account and records of the debtor.

                                                                      None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
                                                                             and records, or prepared a financial statement of the debtor.

                                                                      None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
                                                                             debtor. If any of the books of account and records are not available, explain.

                                                                      None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
                                                                             the debtor within the two years immediately preceding the commencement of this case.
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                                                                     20. Inventories
                                                                      None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
                                                                             dollar amount and basis of each inventory.

                                                                      None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                     21. Current Partners, Officers, Directors and Shareholders
                                                                      None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


                                                                      None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
                                                                             or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                     22. Former partners, officers, directors and shareholders
                                                                      None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
                                                                             of this case.

                                                                      None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
                                                                             preceding the commencement of this case.

                                                                     23. Withdrawals from a partnership or distributions by a corporation
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                                                                      None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
                                                                             bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
                                                                             case.

                                                                     24. Tax Consolidation Group
                                                                      None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
                                                                             purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.

                                                                     25. Pension Funds.
                                                                      None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
                                                                             has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: May 22, 2015                                Signature /s/ Rick L. Petry
                                                                                                                       of Debtor                                                                                     Rick L. Petry

                                                                     Date:                                             Signature
                                                                                                                       of Joint Debtor
                                                                                                                       (if any)

                                                                                                                                         0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
                                                                     Local Form 1007-1
                                                                                           Case 15-31747                               Doc 6                Filed 05/22/15 Entered 05/22/15 17:42:14                                                                          Desc Main
                                                                                                                                                             Document     Page 31 of 44
                                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                                   District of Minnesota

                                                                     IN RE:                                                                                                                                                                     Case No. 15-31747
                                                                     Petry, Rick L.                                                                                                                                                             Chapter 13
                                                                                                                                                  Debtor(s)

                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                     1.     Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within one
                                                                            year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of
                                                                            or in connection with the bankruptcy case is as follows:

                                                                            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               3,500.00

                                                                            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $

                                                                            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $   3,500.00

                                                                     2.     The source of the compensation paid to me was:

                                                                                        Debtor             Other (specify):

                                                                     3.     The source of compensation to be paid to me is:

                                                                                        Debtor             Other (specify):
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                                                                     4.            I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                                                                                       I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                       together with a list of the names of the people or entities sharing in the compensation, is attached.

                                                                     5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                            (a)        Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                            (b)        Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                            (c)        Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                            (d)        Representation of the debtor in contested bankruptcy matters; and
                                                                            (e)        Other services reasonably necessary to represent the debtor(s).


                                                                     6.     Pursuant to Local Rules 1007-1 and 1007-3-1, I have advised the debtor of the requirement of paragraph 9 of the Statement of Financial Affairs of the duty to disclose
                                                                            all payments made, or property transferred, by or on behalf of the debtor to any person, including attorneys, for consultation concerning debt consolidation or
                                                                            reorganization, relief under bankruptcy law, or preparation of a petition in bankruptcy. I have reviewed the debtor’s disclosures and they are accurate and complete to
                                                                            the best of my knowledge.




                                                                                                                                                                                    CERTIFICATION
                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                          proceeding.


                                                                                   May 22, 2015                                                                     /s/ Michael J. Sheridan
                                                                                                               Date                                                                                                 Signature of Attorney

                                                                                                                                                                   Michael J. Sheridan 0388936
                                                                                                                                                                   Atlas Law Firm, LLC
                                                                                                                                                                   7900 International Dr., Ste 300
                                                                                                                                                                   Bloomington, MN 55425
                                                                                                                                                                   (952) 373-5455 Fax: (763) 400-4530
                                                                                                                                                                   msheridan@atlasfirm.com
                                                                                 Case 15-31747         Doc 6      Filed 05/22/15 Entered 05/22/15 17:42:14                  Desc Main
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                                                                                                                   United States Bankruptcy Court
                                                                                                                        District of Minnesota

                                                                     IN RE:                                                                                  Case No. 15-31747
                                                                     Petry, Rick L.                                                                          Chapter 13
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: May 22, 2015                     Signature: /s/ Rick L. Petry
                                                                                                                         Rick L. Petry                                                           Debtor



                                                                     Date:                                  Signature:
                                                                                                                                                                                     Joint Debtor, if any
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            Allina Hospitals & Clinics
            2925 Chicago Ave
            Minneapolis, MN 55407


            Alvin J. & Joanne L. Hall
            C/O JAMES A REICHERT, ESQ.
            301 Fourth Avenue South, Ste 405
            Minneapolis, MN 55415


            BEITO & LENGILING, PLC
            310 4th Avenue South Suite 1050
            Minneapolis, MN 55415


            Benke Dental
            5972 Cahill Avenue #109
            Inver Grove Heights, MN          55076


            Capital One
            Attn: Bankruptcy
            Po Box 30285
            Salt Lake City, UT       84130


            CAPITAL ONE BANK (USA) N.A.
            ATTN: BANKRUPTCY DEPT.
            PO Box 30285
            Salt Lake City, UT 84130


            Cavalry Portfolio Serv
            Po Box 27288
            Tempe, AZ 85285


            CHASER COURT REPORTING
            5841 190th Street East
            Minneapolis, MN 55372
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            City Of Spokane Photo Enforcement
            PO Box 742503
            Cincinnati, OH 45274


            CLX SYSTEMS INC
            95 Hamel Road
            Medina, MN 55340


            CM Information Specialists Inc
            6875 Highway 65 Northeast
            Fridley, MN 55432


            Credit Coll
            Po Box 9134
            Needham, MA      02494


            Delta Management Assoc., Inc.
            PO Box 9242
            Chelsea, MA 02150


            Eisenhower Medical Center
            39000 Bob Hope Drive
            Rancho Mirage, CA 92270


            First Premier Bank
            601 S Minnesota Ave
            Sioux Falls, SD 57104


            Health Partners
            PO Box 2270
            St. Cloud, MN 56302


            In Home Lab Connection
            2626 E. 82nd St., Ste 101
            Bloomington, MN 55425
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            Internal Revenue Service
            PO Box 7346
            Philadelphia, PA 19101-7346


            Jefferson Capital Systems
            16 McLeland Rd
            St. Cloud, MN 56303


            Linebarger, Goggen, Blair & Sampson
            900 Arion Pkwy, Ste 104
            San Antonio, TX 78216


            Messerli & Kramer
            3033 Campus Drive
            Plymouth, MN 55441


            Nationstar Mortgage
            ATTN: BANKRUPTCY
            350 Highland Dr
            Lewisville, TX 75067


            Nweducation
            Po Box 4100
            Wilkes-barre, PA       18773


            ORR AUTOSPORT, LLC
            15180 Martin Drive
            Eden Prairie, MN 55344


            Pioneer Credit Recovery
            28 Edward ST.
            Arcade, NY 14009


            Presbyterian Homes & Services
            5401 69th Ave N
            Minneapolis, MN 55429
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            Reliance Recoveries
            PO Box 29227
            Minneapolis, MN 55429


            Shapiro & Zielke, LLP
            12550 W. Frontage Road, Ste 200
            Burnsville, MN 55337


            Student Loan Finance Corp.
            124 S. First St.
            Aberdeen, SD 57401


            Tax Resolution Center MN
            8400 Normandale Blvd, Ste 920
            Bloomington, MN 55437


            Us Dept Ed
            Po Box 4222
            Iowa City, IA      52244
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                                              United States Bankruptcy Court
                                                   District of Minnesota

  In re      Petry, Rick L.                                                      Case No.        15-31747
                                         Debtor                                  Chapter         13



                             STATEMENT UNDER PENALTY OF PERJURY RE:
                        PAYMENT ADVICES DUE PURSUANT TO 11 U.S.C. § 521(a)(1)(B)(iv)


    Debtor has attached to this statement copies of all payment advices or other evidence of payment received within 60 days
     before the date of the filing of the petition from any employer.

    Debtor has not filed copies of payment advices or other evidence of payment received within 60 days before the date of the
     filing of the petition from any employer because:

          Debtor was not employed during the 60 days preceding the filing of the petition;
          Debtor was employed for only a portion of the 60 days preceding the filing of the petition. Please specify   period
          during which debtor was unemployed:

          Debtor was self-employed during the 60 days preceding the filing of the petition;
          Debtor received only unemployment, veteran's benefits, social security, disability or other retirement

          income during the 60 days preceding the filing of the petition; or

          Other (please explain):
I declare under penalty of perjury that I have read this Statement and it is true to the best of my knowledge, information and
belief.

Signature of Debtor: /s/ Rick L. Petry                              Date: May 22, 2015
                                                                                Case 15-31747          Doc 6      Filed 05/22/15 Entered 05/22/15 17:42:14                  Desc Main
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                                                                     FB 201A (Form 201A) (06/14)


                                                                                                         UNITED STATES BANKRUPTCY COURT

                                                                                                   NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                                                                                            OF THE BANKRUPTCY CODE

                                                                              In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                     Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                     costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                     notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                             You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                     advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                     cannot give you legal advice.

                                                                              Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                     ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                     court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                     each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                                                                     receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
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                                                                     statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                     1. Services Available from Credit Counseling Agencies

                                                                             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                     bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                     credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                     days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
                                                                     by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                                                                     United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                                                                     approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                             In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                     management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                     financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                               Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
                                                                               Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                     Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                     should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                     residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
                                                                     have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
                                                                     to decide whether the case should be dismissed.
                                                                               Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                     right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                                                                     creditors.
                                                                               The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                     have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
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                                                                     Form B 201A, Notice to Consumer Debtor(s)                                                                                     Page 2

                                                                     discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                              Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                     may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                     and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                     which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
                                                                     motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
                                                                     from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
                                                                     that the debt is not discharged.

                                                                              Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                     $75 administrative fee: Total fee $310)
                                                                              Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
                                                                     installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
                                                                     set forth in the Bankruptcy Code.
                                                                              Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                                                                     them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                     depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                              After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
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                                                                     secured obligations.

                                                                              Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
                                                                              Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                     provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                     an attorney.

                                                                              Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
                                                                              Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                     future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                     income arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                     perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                     information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                     acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                     employees of the Department of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                                                                     your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                     dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                     Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
                                                                     B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
                                                                                  Case 15-31747
                                                                     B201B (Form 201B) (12/09)
                                                                                                          Doc 6       Filed 05/22/15 Entered 05/22/15 17:42:14                         Desc Main
                                                                                                                       Document     Page 40 of 44
                                                                                                                       United States Bankruptcy Court
                                                                                                                            District of Minnesota

                                                                     IN RE:                                                                                            Case No. 15-31747
                                                                     Petry, Rick L.                                                                                    Chapter 13
                                                                                                                Debtor(s)

                                                                                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                        UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                      Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                     notice, as required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                     Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                      the Social Security number of the officer,
                                                                                                                                                                      principal, responsible person, or partner of
                                                                                                                                                                      the bankruptcy petition preparer.)
                                                                                                                                                                      (Required by 11 U.S.C. § 110.)
                                                                     X
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                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                            Certificate of the Debtor

                                                                     I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                     Petry, Rick L.                                                         X /s/ Rick L. Petry                                          5/22/2015
                                                                     Printed Name(s) of Debtor(s)                                               Signature of Debtor                                            Date


                                                                     Case No. (if known) 15-31747                                           X
                                                                                                                                                Signature of Joint Debtor (if any)                             Date


                                                                     Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                     Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                     NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                     attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                     page 3 of Form B1 also include this certification.
                                                                                         Case 15-31747             Doc 6         Filed 05/22/15 Entered 05/22/15 17:42:14                          Desc Main
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                                                                       Fill in this information to identify your case:                                                               Check as directed in lines 17 and 21:
                                                                                                                                                                                     According to the calculations required by
                                                                       Debtor 1          Rick L. Petry
                                                                                         __________________________________________________________________                          this Statement:
                                                                                            First Name             Middle Name             Last Name

                                                                       Debtor 2             ________________________________________________________________                             1. Disposable income is not determined
                                                                       (Spouse, if fil ing) First Name             Middle Name             Last Name                                        under 11 U .S.C. § 1325(b)(3).

                                                                       United States Bankruptcy Court for the: District of Minnesota                                                     2. Disposable income is determined
                                                                                                                                                                                            under 11 U .S.C. § 1325(b)(3).
                                                                       Case number          15-31747
                                                                                            ___________________________________________
                                                                       (If known)                                                                                                        3. The commitment period is 3 years .
                                                                                                                                                                                         4. The commitment period is 5 years.

                                                                                                                                                                                         Check if this is an amended filing

                                                                     Official Form 22C–1
                                                                     Chapter 13 Statement of Your Current Monthly Income
                                                                     and Calculation of Commitment Period                                                                                                             12/14

                                                                     Be as complete and accurate as p ossible. If two married people are filing together, both are equally responsible for being accurate. If
                                                                     more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
                                                                     top of any additional pages, write your name and case number (i f known).
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                                                                     Part 1:          Calculate Your Average Monthly Income

                                                                     1. What is your marital and filing status? Check one only.
                                                                              Not married. Fill out Column A, lines 2-11.
                                                                               Married. Fill out both Columns A and B, lines 2-11.

                                                                        Fill in the average monthly income that you received fr om all sources, derived during the 6 ful l months before you file this
                                                                        bankruptcy case. 11 U.S.C. § 101(10A). For exam ple, if you are filing on September 15, the 6-month period would be March 1 through
                                                                        August 31. If t he amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. F ill in
                                                                        the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
                                                                        from that property i n one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                                                                                      Column A                Column B
                                                                                                                                                                     Debtor 1                 Debto r 2 or
                                                                                                                                                                                              non -filing spouse

                                                                     2. Your gross w ages, salary, tips, bonuses, overti me, and com missions (before all
                                                                        payrol l deductions ).                                                                        $____________
                                                                                                                                                                               0.00              $__________
                                                                                                                                                                                                        0.00
                                                                     3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                        Column B is filled in.                                                                                 0.00
                                                                                                                                                                      $____________              $__________
                                                                                                                                                                                                        0.00
                                                                     4. All amounts from any source which are r egular ly paid for household expenses of
                                                                        you or your dependents, including child support. Include regular contributions from
                                                                        an unmarried partner, members of your household, your dependents, parents , and
                                                                        roommates. Include regular contributions from a spouse only if Column B is not filled
                                                                        in. Do not include payments you listed on line 3.                                             $___________
                                                                                                                                                                              0.00                      0.00
                                                                                                                                                                                                 $__________

                                                                     5. Net income from operating a b usiness, profession, or farm

                                                                        Gross receipts (before all deductions)                                       0.00
                                                                                                                                            $____________

                                                                        Ordinary and necessary operating expenses                         – $____________
                                                                                                                                                     0.00

                                                                                                                                                            Copy
                                                                        Net mont hly income from a business, profession, or farm                     0.00
                                                                                                                                            $____________                      0.00
                                                                                                                                                                      $____________                    0.00
                                                                                                                                                                                                 $_________
                                                                                                                                                            here


                                                                     6. Net income from rental and other real property
                                                                        Gross receipts (before all deductions)                                      0.00
                                                                                                                                           $____________

                                                                        Ordinary and necessary operating expenses                      – $___________
                                                                                                                                                  0.00__
                                                                                                                                                            Copy
                                                                        Net mont hly income from rental or other real property                      0.00
                                                                                                                                           $____________
                                                                                                                                                            here      $____________
                                                                                                                                                                               0.00                    0.00
                                                                                                                                                                                                $__________

                                                                      Official Form 22C–1                Chapter 13 Statement of Your Curr ent Monthly Income and Calculation of Commitment Period                         page 1
                                                                                          Case 15-31747                            Doc 6
                                                                                                                               Filed 05/22/15 Entered 05/22/15 17:42:14 Desc Main
                                                                      Debtor 1             Rick L. Petry
                                                                                                                                Document
                                                                                           _______________________________________________________
                                                                                                                                                   Page 42 of Case
                                                                                                                                                               44 number (if known)_____________________________________
                                                                                                                                                                                    15-31747
                                                                                           First Name          Middle Nam e                 Last Name



                                                                                                                                                                                                               Column A                             Column B
                                                                                                                                                                                                               Debtor 1                             Deb tor 2 or
                                                                                                                                                                                                                                                    n on- filing spouse

                                                                     7. Interest, dividends, and royalties                                                                                                                0.00
                                                                                                                                                                                                                 $____________                                0.00
                                                                                                                                                                                                                                                       $__________

                                                                     8. Unemployment compensation                                                                                                                         0.00
                                                                                                                                                                                                                 $____________                                0.00
                                                                                                                                                                                                                                                       $__________

                                                                          Do not enter the amount if you contend that the amount received was a benefit under
                                                                          the Social Security Act. Instead, list it here: .... ..............................

                                                                             For you .......................................................................           $_____________
                                                                                                                                                                                 0.00
                                                                             For your spouse .........................................................                 $_____________
                                                                                                                                                                                 0.00

                                                                     9. Pension or retirem ent income. Do not include any amount received that was a
                                                                          benefit under the Social Security Act.                                                                                                          0.00
                                                                                                                                                                                                                 $____________                         $__________
                                                                                                                                                                                                                                                              0.00

                                                                     10. Income from all other sources not listed above. Specify the source and amount.
                                                                          Do not include any benefits received under the Social Security Act or payments
                                                                          received as a victim of a war crime, a crime against humanity , or international or
                                                                          domestic terrorism. If necess ary, list other s ources on a s eparate page and put the
                                                                          total on l ine 10c.
                                                                                                                                                                                                                 $_____________                       $___________
                                                                            10a. __________________________________________________________________
                                                                                                                                                                                                                 $_____________                       $___________
                                                                            10b. __________________________________________________________________
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                                                                            10c. Total amounts from separate pages, if any.                                                                                  + $____________
                                                                                                                                                                                                                        0.00                       + $__________
                                                                                                                                                                                                                                                            0.00

                                                                     11. Calculate your total average monthly income. Add lines 2 through 10 for each
                                                                          column. Then add the total f or Column A to the total for Column B.                                                                             0.00
                                                                                                                                                                                                                 $____________                +               0.00
                                                                                                                                                                                                                                                      $___________            = $________
                                                                                                                                                                                                                                                                                     0.00
                                                                                                                                                                                                                                                                                 Total average
                                                                                                                                                                                                                                                                                 m onthly income




                                                                     Part 2:            Determine How to Measure Your Deductions from Income

                                                                     12. Copy your total average monthly income from line 11. ..........................................................................................................................
                                                                                                                                                                                                                                                                              $_____________
                                                                                                                                                                                                                                                                                        0.00
                                                                     13. Calculate the marital adjustment. Check one:

                                                                               You are not married. Fill in 0 in line 13d.
                                                                               You are married and your spouse is filing with you. Fill in 0 in line 13d.
                                                                               You are married and your spouse is not filing with you.
                                                                               Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
                                                                               or your dependents, such as payment of t he spouse’s tax liability or the spouse’s support of someone other than you or
                                                                               your dependents.
                                                                                In lines 13a-c, specify the basis for excluding this i ncome and t he amount of income devoted to each purpose. If
                                                                                necessar y, list additional adjustments on a s eparate page.

                                                                                If this adjustment does not apply, enter 0 on line 13d.

                                                                                13a. _______________________________________________________________________                                                         $___________
                                                                                13b. _______________________________________________________________________                                                         $___________
                                                                                13c. _______________________________________________________________________                                                      + $___________
                                                                                13d. Total .............................................................................................................                     0.00
                                                                                                                                                                                                                     $___________                 Copy here.          13d .           0.00
                                                                                                                                                                                                                                                                              ____________


                                                                     14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                 14.              0.00
                                                                                                                                                                                                                                                                               $ __________


                                                                     15. Calculate your current monthly income for the year. Follow these steps:

                                                                          15a. Copy line 14 here                ..................................................................................................................................................... 15a.              0.00
                                                                                                                                                                                                                                                                              $ ____________

                                                                                  Multiply line 15a by 12 (the number of months i n a year).                                                                                                                                  x 12
                                                                          15b. The result is your c urrent monthl y income for the year for this part of the form.                                                                                                  15b.
                                                                                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                                                                                              $___________


                                                                      Official Form 22C–1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                              page 2
                                                                                          Case 15-31747                          Doc 6
                                                                                                                              Filed 05/22/15 Entered 05/22/15 17:42:14 Desc Main
                                                                      Debtor 1            Rick L. Petry
                                                                                                                               Document
                                                                                          _______________________________________________________
                                                                                                                                                  Page 43 of Case
                                                                                                                                                              44 number (if known)_____________________________________
                                                                                                                                                                                   15-31747
                                                                                          First Name          Middle Nam e                Last Name




                                                                     16. Calculate the median family income that applies to you. Follow these steps:

                                                                          16a. Fill in the state in which you live.                                              _________
                                                                                                                                                                 Minnesota

                                                                          16b. Fill in the number of people in your household.                                   _________
                                                                                                                                                                   1

                                                                          16c. Fill in the median family income for your state and size of household. ............................................................................ 16c.
                                                                                                                                                                                                                                                                          50,934.00
                                                                                                                                                                                                                                                                       $___________
                                                                                  To find a list of applicable median income amounts, go online using the link specified in the separate
                                                                                  instructions for this form. This list may also be available at the bankruptcy clerk’s office.

                                                                     17. How do the lines compare?

                                                                          17a.         Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C.
                                                                                       § 1325(b) (3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C–2).

                                                                          17b.         Line 15b is more t han line 16c. On the top of page 1 of this form, check box 2, Dis posable income is de termined under 11 U.S.C.
                                                                                       § 1325(b) (3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C–2). On line 39 of that form, copy
                                                                                       your current monthly income from line 14 above.

                                                                     Part 3:             Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


                                                                     18. Copy your total average monthly income from line 11. .......................................................................................................................... 18.
                                                                                                                                                                                                                                                                               0.00
                                                                                                                                                                                                                                                                       $____ ______
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                                                                     19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
                                                                          that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
                                                                          income, copy the amount from line 13d.
                                                                          If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                    19a.            0.00
                                                                                                                                                                                                                                                                       $__________

                                                                          Subtract line 19a from line 18.                                                                                                                                                     19b.
                                                                                                                                                                                                                                                                              0.00
                                                                                                                                                                                                                                                                       $__________

                                                                     20. Calculate your current monthly income for the year. Follow these steps:


                                                                          20a. Copy line 19b.. ............................................................................................................................................................... 20a.
                                                                                                                                                                                                                                                                               0.00
                                                                                                                                                                                                                                                                       $___________

                                                                                  Multiply by 12 (the number of months in a year).                                                                                                                                    x 12
                                                                          20b . The result is your current monthly income for the year for this part of the form.                                                                                            20b.              0.00
                                                                                                                                                                                                                                                                       $___________


                                                                          20c. Copy the median family income for your state and size of household from line 16c. .... ....................................................
                                                                                                                                                                                                                                                                       $___________
                                                                                                                                                                                                                                                                          50,934.00

                                                                     21. How do the lines compare?

                                                                               Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
                                                                               3 years. Go to Part 4.
                                                                               Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
                                                                               check box 4, The commitment period is 5 years . Go to Part 4.


                                                                      Part 4:           Sign Below

                                                                             By signing here, under penalty of perjur y I declare that the i nformation on this st atement and in any attachments is true and correct.

                                                                                   ___________________________________________________
                                                                                  /s/ Rick L. Petry                                                                                      ____________________________________
                                                                                   Signatur e of Debtor 1                                                                                Signature of Debtor 2


                                                                                  Date _________________
                                                                                       May 22, 2015                                                                                      Date _________________
                                                                                         MM / DD         / YYYY                                                                                  MM / DD         / YYYY



                                                                             If you checked 17a, do N OT fill out or file Form 22C–2.
                                                                             If you checked 17b, fill out Form 22C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




                                                                      Official Form 22C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                      page 3
                                                                                 Case 15-31747         Doc 6      Filed 05/22/15 Entered 05/22/15 17:42:14               Desc Main
                                                                                                                   Document     Page 44 of 44
                                                                                                                   United States Bankruptcy Court
                                                                                                                         District of Minnesota

                                                                     IN RE:                                                                              Case No. 15-31747
                                                                     Petry, Rick L.                                                                      Chapter 13
                                                                                                            Debtor(s)

                                                                                                               BUSINESS INCOME AND EXPENSES
                                                                     FINANCIAL REVIEW OF THE DEBTOR’S BUSINESS (Note: ONLY INCLUDE information directly related to the business
                                                                     operation.)

                                                                     PART A - GROSS BUSINESS INCOME FOR THE PREVIOUS 12 MONTHS:

                                                                       1. Gross Income For 12 Months Prior to Filing:                                    $

                                                                     PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

                                                                       2. Gross Monthly Income:                                                                                  $   16,800.00

                                                                     PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

                                                                       3. Net Employee Payroll (Other Than Debtor)                                       $
                                                                       4. Payroll Taxes                                                                  $
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                                                                       5. Unemployment Taxes                                                             $
                                                                       6. Worker’s Compensation                                                          $
                                                                       7. Other Taxes                                                                    $
                                                                       8. Inventory Purchases (Including raw materials)                                  $
                                                                       9. Purchase of Feed/Fertilizer/Seed/Spray                                         $
                                                                      10. Rent (Other than debtor’s principal residence)                                 $
                                                                      11. Utilities                                                                      $             160.00
                                                                      12. Office Expenses and Supplies                                                   $
                                                                      13. Repairs and Maintenance                                                        $
                                                                      14. Vehicle Expenses                                                               $
                                                                      15. Travel and Entertainment                                                       $            3,500.00
                                                                      16. Equipment Rental and Leases                                                    $
                                                                      17. Legal/Accounting/Other Professional Fees                                       $
                                                                      18. Insurance                                                                      $
                                                                      19. Employee Benefits (e.g., pension, medical, etc.)                               $
                                                                      20. Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
                                                                          Business Debts (Specify):                                                      $




                                                                      21. Other (Specify):                                                               $             140.00
                                                                          Advertising                                            140.00




                                                                      22. Total Monthly Expenses (Add items 3-21)                                                                $    3,800.00

                                                                     PART D - ESTIMATED AVERAGE NET MONTHLY INCOME

                                                                      23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                              $   13,000.00
